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AO 440 (Rev. 06/12) Summons in a Civil Action




                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   Central District of California

                                                                 )
                                                                 )
                         Alan Blakely                            )
                          Plaintiff(s)                           )
                                                                 )
                                v.                               ) Civil Action No. 2:24-cv-02206
                                                                 )
                                                                 )
                                                                 )
                           DMF, Inc.                             )
                          Defendant(s)                           )

                                        SUMMONS IN A CIVIL ACTION
 To: (Defendant’s name and address          DMF, Inc.
                                            Serve: Registered Agent
                                            Morteza Danesh
                                            1118 223rd Street, Unit 1
                                            Carson, CA 90745

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
 Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
 name and address are:
                            MATTHEW LAURENCE ROLLIN
                            SRIPLAW, P.A.
                            8730 Wilshire Boulevard Suite 350
                            Beverly Hills, CA 90211
                            323.452-5600 – Telephone
                            matthew.rollin@sriplaw.com

         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.


                                                                        CLERK OF COURT


 Date:
                                                                                    Signature of Clerk or Deputy Clerk
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Civil Action No. 2:24-cv-02206



                                              PROOF OF SERVICE
              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any)
was received by me on (date)                                        .
         ☐ I personally served the summons on the individual at (place)
                                                                           on (date)                          ; or
         ☐I left the summons at the individual’s residence or usual place of abode with (name)
                                                         , a person of suitable age and discretion who resides there,
         on (date)                         , and mailed a copy to the individual’s last known address: or
         ☐I served the summons on (name of individual)                                                        , who is
         designated by law to accept service of process on behalf of (name of organization)
                                                                           on (date)                          ; or
         ☐I returned the summons unexecuted because                                                                      ; or
         ☐Other (specify):


         My fees are $                     for travel and $                for services, for a total of $                       .


         I declare under penalty of perjury that this information is true.


Date:
                                                                                   Server’s signature


                                                                                 Printed name and title



                                                                                    Server’s address

Additional information regarding attempted service, etc.:
